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                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
 _______________________________________
 CHRISTINE CONFORTI, ARATI KREIBICH, )
 MICO LUCIDE, JOSEPH MARCHICA,                  )
 KEVIN MCMILLAN, ZINOVIA SPEZAKIS, )
 and NEW JERSEY WORKING FAMILIES                )    Civil Action No. 3:20-cv-08267-FLW-TJB
 ALLIANCE, INC.,                                )
                                                )
                              Plaintiffs,       )
                                                )
 vs.                                            )
                                                )
 CHRISTINE GIORDANO HANLON, in her )
 official capacity as Monmouth County Clerk, )
 SCOTT M. COLABELLA, in his official            )
 Capacity as Ocean County Clerk; and PAULA )
 SOLLAMI COVELLO, in her official capacity )
 as Mercer County Clerk, JOHN S. HOGAN, in )
 his official capacity as Bergen County Clerk, )
 EDWARD P. MCGETTIGAN, in his official )
 capacity as Atlantic County Clerk, and E.      )
 JUNIOR MALDONADO, in his official              )
 capacity as Hudson County Clerk,               )
                                                )
                              Defendants.       )
                                                )



   DEFENDANT CHRISTINE GIORDANO HANLON’S BRIEF IN SUPPORT OF
   HER MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT,
                   PURSUANT TO F.R.C.P. 12(b)(6)


                                                   Thomas W. Carter, Esq.
                                                   Attorney ID# 212422017
                                                   On the Brief

                                                   Erik Anderson, Esq.
                                                   Attorney ID# 033232001
                                                   Of Counsel

                                                   REARDON ANDERSON, LLC
                                                   55 Gilbert Street North, Suite 2204
                                                   Tinton Falls, NJ 07701
                                                   Attorneys for Defendant,
                                                   Christine Giordano Hanlon, in her
                                                   capacity as Monmouth County Clerk

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                              PRELIMINARY STATEMENT

       Defendant, Christine Giordano Hanlon, is the County Clerk for the County of

 Monmouth. Plaintiffs consist of individuals who were/are candidates in Democratic

 Primary elections and a political advocacy group. Ms. Hanlon is responsible for

 overseeing the design, preparation, and printing of all ballots, the issuance of mail-

 in ballots, and conducting the drawing for ballot position for various elections held

 in Monmouth County pursuant to New Jersey law. Plaintiffs have brought this

 action for declaratory and injunctive relief seeking that the Court declare New Jersey

 law governing ballot position selection in a Primary Election unconstitutional.

       Plaintiffs claim that the method in which ballot position was/is chosen in

 connection with Democratic Primary Elections is improper. Specifically, plaintiffs

 allege that current New Jersey law governing the County Clerks’ drawings for

 candidate ballot position treats “bracketed” and “unbracketed” candidates in an

 unequal manner. Plaintiffs argue that this unequal treatment stems from statutory

 language and New Jersey Courts’ interpretations of N.J.S.A. § 19:23-24. This

 statute sets forth the manner in which ballot position is selected in Primary Elections.

 Additionally, N.J.S.A. § 19:23-26.1 provides that during a year where there is an

 election for the United States Senate, ballot position is determined by the County

 Clerk first drawing the name of United States Senate candidates (regardless of

 whether they are bracketed with other candidates). Once United States Senate


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 candidate names are drawn and ballot positions set, names for candidates for other

 offices are drawn and their ballot positions are set. Plaintiffs allege that the statutory

 method for selecting ballot position place them at a disadvantage.

       Plaintiffs’ First Amended Complaint fails to state a claim upon which relief

 can be granted as New Jersey law establishing how ballot positioning is selected is

 constitutional. Specifically, the United States Supreme Court and the New Jersey

 Supreme Court have consistently held that there is a state interest in establishing

 laws which allow for the administration and regulation of elections. If no such

 rules and regulations existed, the ability to conduct orderly and fair elections could

 would not be possible. The State Legislature has deemed it necessary to

 implement the statutes in question to establish a framework under which this

 defendant (and all defendants) can fairly administer and regulate the Primary

 Election process.

       As the statutes at issue further a state interest (orderly elections) they do not

 impermissibly infringe on plaintiffs’ rights. Accordingly, plaintiffs have failed to

 state a claim upon which relief can be granted.

       Further, Plaintiffs’ do not have standing to bring the present action.

 Specifically, with regard to those candidates who have lost their elections, this

 action should have been brought before July 7, 2020 Democratic Primary Election.

 At this time, there is no injury which can be redressed for that class of plaintiffs.


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 With regard to that candidate who is currently running for office, the election has

 not been held (let alone the Primary Election ballot drawn) as such that party has

 suffered no injury.

       Finally, plaintiffs complaint should be dismissed for failing to name

 indispensable parties to this action. Specifically, plaintiffs seek relief which will

 impact the constitutional rights of candidates who wish to bracket and associate.

 Plaintiffs have elected not to name these parties. As a ruling by this Court could

 impact the constitutional rights of other candidates, they are indispensable parties.

 As plaintiffs failed to name these parties it is not proper for this matter to go

 forward and must be dismissed.

       .




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                            PROCEDURAL HISTORY

       On July 6, 2021, plaintiff filed her Complaint in the U.S. District Court for

 the District of New Jersey, one day prior to New Jersey’s Primary Election,

 seeking a declaration that New Jersey’s law governing the method in which ballot

 position is selected in connection with a primary election is unconstitutional. (See,

 plaintiff Conforti’s original Complaint).

       On August 17, 2020, Ms. Hanlon waived service pursuant to F.R.C.P. 4(d).

 Her initial time to respond to plaintiff’s Complaint was set to October 19, 2020.

       On or about October 30, 2020, the Honorable Tonianne J. Bongiovanni

 entered an Order extending all defendants’ time to respond to plaintiff’s Complaint

 to November 16, 2020. The time to respond was again extended, to December 7,

 2020. Defendants filed their initial Motions to Dismiss Plaintiff’s Complaint on

 December 7, 2020. Those motions were returnable on January 19, 2021.

       On or about January 4, 2021, plaintiffs requested the opportunity to file a

 First Amended Complaint. Id. On or about January 5, 2021, the Honorable Freida

 Wolfson entered an Order (1) setting the deadline for the filing of plaintiffs’

 Amended Complaint for January 25, 2021, and (2) setting the deadline for

 defendants’ filing of their respective Motions to Dismiss Plaintiffs’ Amended

 Complaint for February 16, 2021. Id. Plaintiffs filed their First Amended

 Complaint on or about January 25, 2021, naming additional plaintiffs. Id. The


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 deadline for filing of defendants’ Motions to Dismiss Plaintiffs’ Amended

 Complaint was again extended to March 29, 2021, by way of Judge Wolfson’s

 Order dated March 17, 2021.

       Defendant Hanlon now moves to dismiss plaintiffs’ First Amended

 Complaint, in its entirety, for failing to state a claim upon which relief can be

 granted, lack of standing and failure to name indispensable parties to the action.




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                                STATEMENT OF FACTS

        1. Plaintiff Conforti ran in the 2020 Democratic Primary Election as a

  candidate for U.S. House of Representatives in New Jersey’s Fourth Congressional

  District. She lost. (See Plaintiffs’ First Amended Complaint, filed January 25,

  2021).

        2. Plaintiff Kreibach ran in the 2020 Democratic Primary Election as a

  candidate for the United States House of Representatives in New Jersey’s 5 th

  Congressional District. She lost. Id.

        3. Plaintiff Lucide is running in the 2021 Democratic Primary Election as a

  candidate for Atlantic County Clerk. That election has not occurred. Id.

        4. Plaintiff Marchica ran in the 2020 Democratic Primary Election as a

  candidate for Mercer County Democratic Committee. He lost. Id.

        5. Plaintiff McMillan ran in the 2020 Democratic Primary Election as

  candidate for Neptune Township Committee. He lost. Id.

        6. Plaintiff Spezakis ran in the 2020 Democratic Primary Election as a

  candidate for the United States House of Representatives in New Jersey’s 9th

  Congressional District. She lost. Id.

        7.   Defendant Christine Giordano Hanlon (hereinafter “Hanlon”), is the

  County Clerk for the County of Monmouth.



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        8. As County Clerk, Ms. Hanlon is responsible for: (1) the designing,

  preparing, and printing of all ballots, (2) the issuance of mail-in ballots, and (3)

  conducting a drawing for ballot position for various elections held in Monmouth

  County.

        9. In a Primary Election, the Republican and Democratic ballots are prepared

  separately. The design and layout of the ballot in a political party primary election

  is guided by Title 19 of the New Jersey statutes, which dictates the filing of candidate

  petitions, bracketing of candidates, slogans, and the process for the ballot draw to

  determine the order of candidates.

        10. In order to appear on the primary election ballots, Republican and

  Democratic party candidates submit petitions signed by voters to the appropriate

  government entities by a date certain set by N.J.S.A. 19:23-14. For the 2020 primary

  election, that date was March 30.

        11. Municipal candidates submit petitions to the municipal clerks in their

  jurisdictions; county candidates submit petitions to the County Clerk; state and

  federal candidates submit petitions to the Secretary of State. In Monmouth County,

  the 2020 primary election included the election for the President, United States

  Senate, United States Congress, County Clerk, County Freeholders, and municipal

  officials. The election also included municipal political party or “county committee”




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  representatives for each election district in the County of Monmouth, pursuant to the

  bylaws of the Monmouth County Democratic and Republican parties.

        12. The Secretary of State and the municipal clerks are required to submit the

  names of all of the candidates for the Primary Election to the County Clerk by a date

  certain for the preparation of ballots.

        13. Candidates, pursuant to New Jersey law, are permitted to bracket with

  other candidates to form a “ticket” and appear together on the ballot either in the

  same column or row. Oftentimes, these bracketed candidates also utilize the same

  “slogan”.

        14. Pursuant to N.J.S.A. § 19:49-2, the only candidates that can file joint

  petitions under New Jersey law are county candidates (Commissioners) who are

  running for the same office for the same term. Candidates wishing to bracket with

  other candidates and utilize slogans, must submit those requests to the County Clerk

  within 48 hours of the petition filing deadline. For the 2020 primary election, that

  date was April 1, according to N.J.S.A 19:49-2. The County Clerk in turn forwards

  that request to the County candidates’ campaign manager for approval.            The

  candidates through their Campaign manager than may approve or disapprove of said

  request.

        15. Under New Jersey law, in the year in which there is an election for the

  United States Senate, ballot position is selected by first drawing the names of those


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  United States Senate candidates regardless if they are or are not bracketed with other

  candidates (if applicable). The first name drawn goes in the first column with their

  slate of candidates, followed by the second name, and so on.

        16. On April 9, 2020, the Monmouth County Clerk’s Office conducted a

  ballot draw.

        17. On or about July 6, 2020, plaintiff Conforti filed her Complaint in the

  United States District Court for the District of New Jersey, one day prior to New

  Jersey’s Primary Election. The case was assigned docket number 3:20-cv-08267-

  FLW-TJB.




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                                 LEGAL ARGUMENT
                                         POINT I

               NEW JERSEY’S ELECTION LAWS CONCERNING
               BALLOT POSITIONING ARE CONSTITUTIONAL.

        The United States Supreme Court has set forth a framework for the review

  of the constitutionality of state laws governing elections. In Anderson v.

  Celebrezze, 460 U.S. 780, 788 (1983), the Court established the standard by which

  states could enact laws to administer elections, while balancing the threat of

  infringement on voter and candidates’ rights. In Anderson, the Court provided that

  “not all restrictions imposed by the States on candidates’ eligibility for the ballot

  impose constitutionally-suspect burdens on voters’ rights to associate or to choose

  among candidates.” Id. Further, there must be “a substantial regulation of

  elections if they are to be fair and honest…some sort of order, rather than chaos.”

  Id., citing Storer v. Brown, 415 U.S. 724, 730 (1974). The Court acknowledged

  that any state law governing the election process has at least some effect on “the

  individual’s right to vote and his right to associate with others for political ends,”

  Anderson 460 U.S. at 788. However, “the state’s important regulatory interests are

  generally sufficient to justify reasonable, nondiscriminatory restrictions.” Id.

        The Court in Anderson noted that, where a state law is alleged to burden the

  right of a candidate, the reviewing court must analyze “the character and

  magnitude of the asserted injury,” as well as the “precise interests put forward by
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  the State as justifications for the burden imposed by its rule.” Anderson 460 U.S.

  at 789. Courts must then weigh the burdens against the state interests and take into

  consideration “the extent to which those interests make it necessary to burden [a

  candidate’s] rights.” Id.

        Election regulations imposing a severe burden on associational rights are

  subject to scrutiny by the courts and may be upheld only if they are narrowly

  tailored to serve a compelling state interest. Clingman v. Beaver, 544 U.S. 581,

  586 (2005).

        Election regulations that impose only modest burdens on associational rights

  requires a lower form of scrutiny in which the state shows important regulatory

  interests justify reasonable, non-discriminatory restrictions. Anderson 460 U.S. at

  788. The U.S. Supreme Court has “repeatedly upheld reasonable, politically

  neutral regulations that have the effect of channeling expressive activity at the

  polls.” Burdick v. Takushi, 504 U.S. 428, 438 (1992).

        As the Primary Election which forms the basis of this matter involved a U.S.

  Senate election, N.J.S.A. § 19:23-26.1 and N.J.S.A. § 19:49-2 were applicable.

  N.J.S.A. § 19:23-26.1 provides that “in the case of a primary election for the

  nomination of a candidate for the office of United States Senator...the names of all

  candidates for the office of United States Senator…shall be printed on the official

  primary ballot in the first column or horizontal row designated for the part of those


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  candidates.” N.J.S.A. § 19:49-2 provides in relevant part, “in those counties where

  voting machines are used, the county clerk shall have the authority to determine

  the specifications for, and the final arrangement of, the official ballots.” Further, it

  is provided that:

               For the primary election for the general election in all
               counties where voting machines are or shall be used, all
               candidates who shall file a joint petition with the county
               clerk of their respective county and who shall choose
               the same designation or slogan shall be drawn for
               position on the ballot as a unit and shall have their
               names placed on the same line of the voting machine;
               and provided further, that all candidates for municipal
               or party office in municipalities in counties where
               voting machines are or shall be used who shall file a
               petition with the clerk of their municipality bearing the
               same designation or slogan as that of the candidates
               filing a joint petition with the county clerk as aforesaid,
               may request that his or her name be placed on the same
               line of the voting machine with the candidates who have
               filed a joint petition with the county clerk as aforesaid
               by so notifying the county clerk of said county in
               writing within two days after the last day for filing
               nominating petitions and thereupon the county clerk
               shall forthwith notify the campaign manager of such
               candidates filing a joint petition as aforesaid of said
               request, and if the said campaign manager shall file his
               consent in writing with the said county clerk within two
               days after the receipt of said notification from said
               county clerk, the clerk of said county shall place the
               name of such candidate on the same line of the voting
               machine on which appears the names of the candidates
               who have filed the joint petition as aforesaid. Id.

        Pursuant to New Jersey Law, the ballot position selection for the Primary

  Election was “driven” by the fact that there was a United States Senate race.
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  Accordingly, N.J.S.A. § 19:23-26.1 mandates that the first columns of the ballot be

  allocated to United States Senate candidates (regardless of whether they are or are

  not bracketed with other candidates). Further, N.J.S.A. § 19:49-2 sets forth the

  manner in which candidates may affiliate with other candidates. Specifically, the

  only candidates that can file joint petitions under New Jersey law are county

  candidates who are running for the same office for the same term. If a candidate

  seeks to be included “on the line” or bracketed with county candidates, they must

  make a written request for such inclusion to the County Clerk within two (2) days

  of the filing of the petition. The County Clerk in turn forwards that request to the

  County candidates’ campaign manager for approval. The candidates, through their

  Campaign manager than may approve or disapprove of said request.

        For example, in connection with the Monmouth County Democratic

  Primary, Michael Penna and Moira Nelson filed a joint petition in connection with

  their candidacy for the office of the Board of Chosen Freeholders. They sought to

  run together on the same line (e.g. be bracketed together). Joseph Biden, who was

  seeking the office of the President, sought and was approved to appear on the line

  with Penna and Nelson. Cory Booker, who was seeking the office of United States

  Senate, sought and was approved to appear on the line with Penna and Nelson.

  Stephanie Schmid, who was seeking the office of the United States House of




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  Representatives, sought and was approved to appear on the line with Penna and

  Nelson. The candidates were bracketed together.

        Additionally, in connection with the Democratic Primary, Angelica Ashford

  and Lucille Benafanti, filed a joint petition in connection with their candidacy for

  the office of the Board of Chosen Freeholders. They sought to run together on the

  same line (e.g. be bracketed together). Lawrence Hamm, who was seeking the

  office of the United States, sought and was approved to appear on the line with

  Ashford and Benafanti.

        Pursuant to N.J.S.A. § 19:23-26.1, a drawing for ballot position between

  Booker and Hamm was conducted. Booker’s name was selected first and his slate

  was assigned column one. Hamm and his slate were assigned column two.

        Next, the remaining candidate for President was Bernie Sanders and he was

  assigned column three.

        The remaining candidates for the Democratic primary (excluding municipal

  offices) were plaintiff Conforti and David Applefield. A blind draw was then

  conducted for ballot position assignment. Plaintiff Conforti’s name was drawn,

  and she was assigned column four and Mr. Applefield was assigned column five.

        a.     Plaintiffs' arguments challenging the Constitutionality of laws
               governing ballot positioning have previously been rejected.

        Plaintiffs’ federal Constitutional claims under the First and Fourteenth

  Amendments fail as a matter of law. Namely, plaintiffs’ associational rights are no
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  more important that the rights of candidates who wish to bracket on a primary

  ballot.

            The United States Supreme Court has established in Eu v. San Francisco

  County Democratic Cent. Committee, 489 U.S. 214 (1989), the manner in which

  plaintiffs’ associational and Equal Protection claims are to be examined. See also

  Tashjian v. Republican Party of Connecticut, 479 U.S. 208 (1986). Under this

  balancing test, Courts are to initially examine the constitutionality of a state

  election law to determine whether it burdens rights protected by the First and

  Fourteenth Amendments of the Constitution. The Court must next determine

  whether the state can provide a justification for such burden. Tashjian 479 U.S. at

  217. The severity of the burden determines the level of scrutiny to be employed by

  the Court. In the event of a severe burden on a candidate’s rights, the regulations

  imposing said burden must be narrowly tailored and advance of compelling state

  interest. Id. When there is a lesser burden, there is lesser standard of review and

  the State’s regulatory interest will usually be enough to justify reasonable,

  nondiscriminatory restrictions. Id. In Eu, the United States Supreme Court

  recognized that the associational rights of political parties are protected under the

  First Amendment.

            The issues presented in plaintiffs’ First Amended Complaint have also

  previously been decided by the New Jersey Supreme Court. Specifically, the


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  Court ruled that the manner in which New Jersey assigns ballot positions is

  constitutional, and that the County Clerk’s exercise of discretion to conduct ballot

  drawing separately between bracketed and unbracketed candidates does not in

  itself constitute an Equal Protection Clause violation. Quaremba v. Allan, 67 N.J.

  1, 10-18 (1975).

        In Quaremba v. Allan, 67 N.J. 1 (1975) affirming and modifying 128 N.J.

  Super 570 (App. Div. 1974), the New Jersey Supreme Court was called upon to

  rule on the constitutionality of N.J.S.A 19:49-2. In Quaremba, the plaintiffs argued

  the bracketing requirements set forth in N.J.S.A. 19:49-2 were unconstitutional and

  denied Equal Protection under the law. The plaintiffs in Quaremba were

  candidates for State Senate and Freeholder and sought an order requiring “the

  listing of all candidates for election of a political party in a single column or row

  determined by drawing.” Quaremba 128 N.J. Super at 572. Those candidates

  contended “that their names should have been placed in the same column or line

  with other candidates for the same office, their respective positions to be

  determined by lot, but were assigned, instead, a separate column or line alongside

  the others.” Id. at 573. Further, they claimed that joint petition and bracketing

  structure established under N.J.S.A. § 19:49-2 violated their right to equal

  protection. The Court rejected these arguments.




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        The New Jersey Supreme Court initially recognized “there can be no doubt

  about the authority of the Legislature to adopt reasonable regulations for the

  conduct of primary and general elections. Such regulations, of course, may control

  the manner of preparation of the ballot, so long as they do not prevent a qualified

  elector from exercising his constitutional right to vote for any person he chooses.”

  Quaremba, 67 N.J. at 11. The Court continued “nothing in the challenged section

  inhibits any voter from voting for any person he chooses or limits the right of any

  candidate to run for office.” Id.

        In addressing the claim that affiliated candidates receive more votes than

  unaffiliated candidates, the Court noted that even if that was true “it affords no

  basis for invalidating, as unreasonable, the legislative determination that whatever

  the effect on an unaffiliated candidate, the public interest is better served by

  permitting a grouping of candidates having common aims or principles and

  authorizing those candidates ‘to have this fact brought to the attention of the voter

  in a primary election with the additional effectiveness produced by alignment of

  their names on the machine ballot.” Id. at 13.

        The Appellate Division in Quaremba noted “[w]hile candidates not affiliated

  with the county candidate may be entitled to a drawing for position as among

  themselves, they are not entitled under the statute to have their names appear in the




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  same column with jointly listed county candidates and those affiliated with them.”

  Id. at 574.

        In Schundler v. Donovan, 377 N.J. Super. 339 (App. Div. 2005), the

  Appellate Division was faced with the same constitutional claim that separate

  ballot draws for ballot placement between bracketed and unbracketed candidates

  violated the Equal Protection Clause. Id. at 343. The Appellate Division affirmed

  the County Clerk’s discretion in designing the ballot and held that it would not

  substitute the Clerk’s judgment unless that judgment is not “rooted in reason.” Id.

  at 343-344.

        The New Jersey Supreme Court has found that laws governing ballot

  position selection do not infringe on a candidate’s constitutional rights.

        In the case at bar, plaintiffs have not provided any proof of intentional

  discrimination. Instead, plaintiffs offer a professor’s summary of the academic

  literature on positional ballot alleged bias effect without any specific proof in this

  case that such bias occurred and resulted in loss of votes for the plaintiffs. Under

  the decision announced in Quaremba this does not rise to the level of constitutional

  harm to the plaintiffs.

        A viable Equal Protection claim requires proof of “‘invidious

  discrimination’ which offends the Constitution.” Quaremba 67 N.J. 1 (1975). The

  United States Supreme Court has held similarly that plaintiffs claiming an Equal


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  Protection violation bear the burden of providing some substantive proof of

  discrimination. American Party of Texas v. White, 415 U.S. 767 (1974); see also

  Williamson v. Lee Optical Co., 348 U.S. 483, 489 (1955).

        The statutes at issue are non-discriminatory and place a minimal burden on

  the plaintiffs. They advance the regulatory interest of New Jersey in conducting a

  fair election, which most importantly gives the voters the opportunity and right to

  vote for whomever they wish to vote for. For example, with regard to Plaintiff

  Conforti’s candidacy she was clearly listed on the Monmouth County ballot and

  could easily be found by voters if they chose to vote for her.

        b.     New Jersey Law does not violate the Elections Clause of the
               United States Constitution.

        In addition to First and Fourteenth Amendment claims, plaintiffs also allege

  that the manner in which ballot placement occurs as it applies to House of

  Representative candidates violates the Elections Clause of the United States

  Constitution. Article I, Section 4, Clause 1 of the United States Constitution

  provides “The Times, Places and Manner of holding Elections for Senators and

  Representatives, shall be prescribed in each State by the Legislature thereof; but

  the Congress may from time to time by Law make or alter such Regulations,

  except as to the Places of [choosing] Senators.” In Foster v. Love, 522 U.S. 67, 69

  (1997), the Supreme Court noted that the Elections Clause “is a default provision;

  it invests the States with responsibility for the mechanics of Congressional
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  elections.” Further, the Supreme Court noted that the Framers intended the

  Elections Clause to grant states the authority to create procedural regulations for

  such federal elections.” U.S. Terms Limits, Inc. v. Thorton, 514 U.S. 779, 832

  (1995).

           The Court has also recognized that the reference to “Legislature”

  encompasses more than just the lawmaking body. Singh v. Murphy, 2020 WL

  6154223 (App. Div. 2020). Instead, it refers to the state’s legislative power

  “performed in accordance with the State’s prescriptions for lawmaking.” Arizona

  State Legislature v. Arizona Indep. Redistricting Comm’n, 576 U.S. 787, 805

  (2015).

           In this matter, the State Legislature has established the laws, essentially the

  manner in which ballot position is to be drawn, for Primary Elections. They have

  in turn empowered the County Clerks to implement those laws, which permits

  reasonable discretion.1 Accordingly, plaintiff’s claim that the state statutes at issue

  violate the Elections Clause is without merit.

           Accordingly, plaintiffs fail to state a claim upon which relief can be granted.

  As such, it is proper to dismiss plaintiffs’ First Amended Complaint, with

  prejudice, in its entirety.



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   It is important to note that discretion is necessary for Clerks in configuring their ballot. This is due to spatial and
  technological limitations created depending on the number of candidates running and positions in which elections
  are being held.

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                                         POINT II
                    PLAINTIFFS FAIL TO STATE A CLAIM
                   UPON WHICH RELIEF CAN BE GRANTED.

        Federal Rule of Civil Procedure 8(a)(2) provides that a pleading must

  contain a short and plain statement of the claim showing that the pleader is entitled

  to relief and give notice of what the claim is and the ground upon which it rests.

  Conley v. Gibson, 355 U.S. 41, 47 (1957). The pleading standard of Rule 8 does

  not require “detailed factual allegations.” Bell Atlantic Corp. v. Twombly, 550

  U.S. 544, 555 (2007).

        In order to survive a Rule 12(b)(6) motion to dismiss, “a complaint must

  contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

  plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). That claim has

  “facial plausibility when [a party] pleads factual content that allows the court to

  draw the reasonable inference that [the other party] is liable for the misconduct

  alleged.” Id. at 679. Further, “factual allegations must be enough to raise a right

  to relief above speculative level.” Twombly 550 U.S. at 555.

        In reviewing a Rule 12(b)(6) motion, the Court must first accept as true all

  of the allegations contained in the complaint. The Court must then determine

  whether the claims asserted state a plausible claim for relief. To do this, the court

  must engage in a “context-specific task that requires the reviewing court to draw

  on its judicial experience and common sense.” Id. at 679.
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        In this matter, plaintiffs have failed to establish that New Jersey law

  governing Primary Elections unconstitutionally infringes on their First and

  Fourteenth Amendment rights. There is a reasonable basis for the State Legislature

  to establish laws which regulate the administration of elections. Specifically, these

  rules and regulations allow for orderly and fair elections.

        Numerous court decisions have found that the statutes at issue constitutional.

  As such, plaintiffs’ complaint should be dismissed for failing to state a claim upon

  which relief can be granted.




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                                        POINT III

                    PLAINTIFFS HAVE FAILED TO NAME
                 INDISPENSABLE PARTIES TO THIS ACTION.

        Federal Rule of Civil Procedure 19 provides that:

               A person who is subject to service of process and whose joinder will
               not deprive the court of competent jurisdiction over the subject matter
               of the action shall be joined as a party in the action if (1) in the
               person’s absence complete relief cannot be accorded among those
               already parties, or (2) the person claims an interest relating to the
               subject of the action and is so situated that the disposition of the
               action in the person’s absence may (i) as a practical matter impair or
               impede the person’s ability to protect that interest or (ii) leave any of
               the persons already parties subject to substantial risk of incurring
               double, multiple or otherwise inconsistent obligations by reason of the
               claimed interest.

  “There is no prescribed formula for determining in every case whether a person or

  corporation is an indispensable part or not.” Niles-Bement-Pond Co. v. Iron

  Moulders’ Union, 254 U.S. 77 (1920). “Each case must depend upon its own facts

  and circumstances…person who not only have an interest in the controversy, but

  an interest of such nature that a final decree cannot be made without either

  affecting that interest, or leaving the controversy in such a condition that is final

  termination may be wholly inconsistent with equity and good conscience are

  indispensable parties.” Shields v. Barrow, 58 U.S. 129 (1854). “All persons who

  may be affected by the relief caught or who are interested in the object of the suite

  are generally deemed necessary parties.” Woulfe v. Atlantic City Steel Pier Co.,

  129 N.J. Eq. 510 (Ch. 1941).
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        In this instant action, Plaintiff has not named political candidates who will

  potentially be impacted by any decision rendered by the Court in connection with

  this matter. Through this action, the constitutional rights of candidates who wish

  to associate and bracket will be potentially impacted. Namely, the plaintiffs are

  seeking a declaration that the statutes at issue are unconstitutional. If that were to

  occur, the First and Fourteenth Amendments rights of candidates who wish to

  associate and bracket would be impacted. Plaintiff has elected not to name said

  candidates to this action.

        Due to Plaintiffs’ failure to name indispensable parties, it is proper to

  dismiss this action.




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                                       POINT IV
                          PLAINTIFFS’ LACK STANDING
                           TO ASSERT THEIR CLAIMS

        Article III of the United States Constitution “limits the jurisdiction of federal

  courts to ‘Cases’ and “Controversies’. . . .” Lujan v. Defenders of Wildlife, 504

  U.S. 555, 559 (1992). The doctrine of standing is used “to identify those disputes

  which are appropriately resolved through the judicial process.” Lujan 504 at 560,

  citing Whitmore v. Arkansas, 495 U.S. 149, 155 (1990). Standing is “an essential

  and unchanging part” of Article III’s requirement that a “case” or “controversy” be

  before the court. Lujan 504 U.S. at 550, see, e.g., Allen v. Wright, 468 U.S. 737,

  751 (1984).

        The Lujan Court articulated a three part test to determine whether a plaintiff

  has standing. Id. at 560. First, the plaintiff must have suffered an “injury in fact.”

  The “injury in fact must be both (a) ‘concrete and particularized,’ and (b) ‘actual or

  imminent,’ not ‘conjectural’ or ‘hypothetical.’” Id. at 560; citing Allen 468 U.S. at

  756; Warth v. Seldin, 422 U.S. 490, 508 (1975); Sierra Club v. Morton, 405 U.S.

  727, 740–741 (1972); Whitmore, supra, 495 U.S., at 155 (quoting Los Angeles v.

  Lyons, 461 U.S. 95, 102 (1983)). This standard requires more than “’someday’

  intentions” to support a finding of the “‘actual or imminent’ injury that our cases

  require.” Nader v. Federal Election Com’n, 725 F.3d 226, 229 (D.C. Cir. 2013).



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        Second, the plaintiff must demonstrate “a causal connection between the

  injury and the conduct complained of.” Lujan 504 U.S. at 560-561; citing Simon

  v. Eastern Ky. Welfare Rights Organization, 426 U.S. 26, 41–42 (1976). That is,

  the injury must be “‘fairly ... trace[able] to the challenged action of the defendant,

  and not ... th[e] result [of] the independent action of some third party not before the

  court.’” Id.

        Third, the plaintiff must demonstrate that the injury complained of is

  “‘likely,’ as opposed to merely “speculative,’” and that the plaintiff’s injury will be

  “redressed by a favorable decision.” Lujan 504 U.S. at 561. It is critical to note

  that “[t]he party invoking federal jurisdiction bears the burden” of establishing

  each of these three elements. Lujan 504 U.S. at 561. Accordingly, “each element

  must be supported in the same way as any other matter on which the plaintiff bears

  the burden of proof, i.e., with the manner and degree of evidence required at the

  successive stages of the litigation.” Id.

        The Court in Nader concluded that the plaintiff lacked standing as a

  competitor in the election that already passed despite claiming he would run again.

        Here, plaintiffs does not have standing to bring their claim. Specifically,

  plaintiffs Conforti, Kreibach, Spezakis, McMillan and Marchica lost their

  Democratic Primary Elections. At this time, there simply is no controversy or

  injury for the Court to address and/or redress. Plaintiff Conforti elected to file this

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  action the day before the Democratic Primary (which had been postponed from the

  original June date due to COVID-19). She had the opportunity to file this action

  when arguably a controversy existed (e.g., when the ballot draw occurred on April

  9, 2020). However, she elected not to do so at that time. Further, Kreibach,

  Spezakis, McMillan and Marchica did not join the lawsuit until after they lost.

          With regard to plaintiffs Lucide, the primary election has not yet occurred.

  It is possible that she will win and her claims will be moot.

          Under the standard set in Lujan, plaintiffs Conforti, Kreibach and Marchica

  do not have an injury in fact. Simply losing an election does not equate to an

  injury. Second, there is no causal connection between the alleged injury and

  plaintiffs’ ballot position. Plaintiffs lost because voters did not support their

  candidacy. Finally, there is currently no injury to redress. The election is over, as

  is the opportunity to address the alleged “wrong.” Their stated “intention” to run

  again is speculative, and analogous to the Nader case. Like Nader, these plaintiffs

  have not suffered an injury in fact. Additionally, Plaintiffs Lucide has no injury as

  the primary election has not occurred.2

          Accordingly, plaintiffs lack standing, and it is appropriate to dismiss their

  First Amended Complaint, in its entirety.



  2
   New Jersey Working Families Alliance should be dismissed as they lack standing as they are neither a candidate,
  nor a voter who suffered an alleged injury.

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                                     CONCLUSION

        For the foregoing reasons, it is proper to grant the Motion to Dismiss of Defendant,

  Christine Giordano Hanlon (in her capacity as Monmouth County Clerk), with prejudice,

  in its entirety, for failing to state a claim upon which relief can be granted.




  DATED: March 29, 2021
                                                  __/S/ Thomas W. Carter___________
                                                  THOMAS W. CARTER, ESQ.
                                                  ERIK ANDERSON, ESQ.
                                                  Reardon Anderson, LLC
                                                  Attorneys for Defendant,
                                                  Christine Giordano Hanlon,
                                                  in her official capacity as
                                                  Monmouth County Clerk




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